                    Case 4:24-cr-00253              Document 2          Filed on 05/08/24 in TXSD           Page 1 of 2
USA-74-24B
(Rev. 05/01)                                                    CRIMINAL DOCKET
HOUSTON DIVISION                                                    United States Courts                   No. 4:24-cr-00253
                                                                  Southern District of Texas
USAO Number: 2023R03725                                                    FILED
Magistrate Number:                                                     May 08, 2024
CRIMINAL INDICTMENT                                     Filed Nathan Ochsner, Clerk of Court Judge:            Bennett
UNITED STATES of AMERICA                                                               ATTORNEYS:
                                                                             ALAMDAR S. HAMDANI, USA                       (713) 567-9000
vs.
                                                                             LISA COLLINS, AUSA                            (713) 567-9000
                                                                                                                           Appt'd Private
KENNETH KELLEY              Cts: 3, 4, 5, 6, 9, 10, 11 and 12
MARQUIS RICHARD Cts: 1 and 2

KE SHAUN JOHNSON Cts: 1, 2,3,4,5 and 6

LORENZO JACKSON Cts: 9, 10, 11, and 12

NYREON TUCKER                Cts: 7 and 8
BRIAN DORSEY                 Cts: 7 and 8




               CT 1, 3, 5, 7, 9, and 11: Interference with Commerce by Robbery [18 USC §§ 1951(a) and 2]

               CT 2, 4, 6, 8, 10, and 12: Using and Carrying a Firearm during and in Relation to a Crime of Violence[18 USC §§ 924(c)(1)(A)]
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CHARGE:
 (TOTAL)
(COUNTS:)
 ( 12 )




   PENALTY:
          Cts: 1, 3, 5, 7, 9 and 11: up to 20 years imprisonment, up to a 250k dollar fine, up to 3 years supervised release and 100 dollar
          special assessment
          Cts: 2, 4, 6, 8, 10 and 12: 5 years and up to life imprisonment, up to a 250k dollar fine, up to 3 years supervised release and up
          to 100 dollar special assesment




       In Jail
                                                                                          NAME & ADDRESS
                                                                                          of Surety:

       On Bond




       No Arrest




                                                       PROCEEDINGS:
